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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                NORTHERN DIVISION


DANNY SLATES Individually and as           )
Plaintiff Ad Litem for KARLA LAMMERS,      )
                                           )
            Plaintiff,                     )
                                           )
      vs.                                  )         Case No. 2:07-CV-11 (JCH)
                                           )
SEYED SAJADI, M.D., et al.,                )
                                           )
            Defendants.                    )


                                   ORDER OF REMAND

       IT IS HEREBY ORDERED, ADJUDGED and DECREED that this matter is

REMANDED to the Circuit Court of Macon County, State of Missouri.


Dated this 9th day of May, 2007.



                                           /s/ Jean C. Hamilton
                                           UNITED STATES DISTRICT JUDGE
